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                              IN THE UNITED STATES DISTRICT COURT

                                        FOR THE DISTRICT OF UTAH



    FLYING J INC., et al.,
                                                               MEMORANDUM DECISION AND
                    Plaintiffs,                                ORDER GRANTING IN PART MOTION
                                                               TO COMPEL
           vs.

    TA OPERATING CORPORATION, et al.,                          Case No: 1:06-CV-30 TC

                    Defendants.                                District Judge Tena Campbell

                                                               Magistrate Judge David Nuffer


          Defendant Pilot Travel Centers LLC (“Pilot Travel”) has filed a motion to compel1

supplemental responses to Pilot Travel’s First Set of Requests for Production of Documents to

TCH LLC (“First Set”). For the reasons discussed below, the court grants the motion to compel

with certain modifications. The court will discuss each disputed request in turn.

                                                  BACKGROUND

          On August 29, 2006, Pilot Travel served its First Set on TCH. On October 30, 2006,

TCH served its responses and objections on Pilot Travel.2 On December 4, 2006, counsel for

Pilot Travel sent a letter to counsel for TCH highlighting what counsel considered to be


1
 Motion to Compel, docket no. 96, filed March 1, 2007. Pilot Travel also seeks to compel responses to document
requests served on Plaintiffs Flying J Inc., Transportation Alliance Bank Inc., and TON Services, Inc. (“other
plaintiffs”), to the extent that those requests and objections are substantially similar to those Pilot Travel is moving to
compel with respect to TCH. (Motion to Compel at 2, n.1.) Consequently, in some cases, the court refers to
“Plaintiffs” as well as TCH.

2
 Pilot Travel’s Memorandum in Support of Motion to Compel (“Supporting Memorandum”) at iv-v, docket no. 97,
filed March 1, 2007. Copies of Pilot Travel’s requests and TCH’s responses are attached to the Supporting
Memorandum as Exhibits 2 and 3, respectively.
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deficiencies in those responses and objections.3 Counsel for TCH responded by letter on

December 22, 2006.4 However, the parties were unable to come to an agreement on the disputed

discovery requests.

            On January 23, 2007, the court entered a protective order regarding the protection of

confidential material produced during discovery.5

                                                    DISCUSSION

A. Failure to Meet and Confer.

            Counsel for Pilot Travel submitted a Certificate of Meet and Confer in which he stated

that on December 15, 2006, he conferred in good faith via telephone with Plaintiffs’ counsel in

an effort to resolve the issues that are the subject of this motion to compel.6 In opposition to the

motion, Plaintiffs point out that the December 15, 2006 conference was limited to interrogatory

responses only, and the subject of the instant motion was not discussed. Plaintiffs argue that

because Pilot Travel did not comply with its obligation under Fed. R. Civ. P. 37(a)(2)(B) to meet

and confer, the motion to compel should be denied on that basis alone.7




3
 Supporting Memorandum at v; Letter from John Bogart to Jonathon Dibble, dated December 4, 2006, attached to
Supporting Memorandum as Exhibit 4.

4
 Supporting Memorandum at v; Letter from Michael Crimmins to John Bogart, dated December 22, 2006, attached
as Ex. 5 to Supporting Memorandum.

5
    Protective Order, docket no. 81, filed January 23, 2007.

6
    Motion to Compel at 3.

7
 Plaintiffs’ Memorandum in Opposition to Pilot Travel Center’s Second Motion to Compel (“Opposition”) at 1-2,
docket no. 101, filed March 16, 2007.

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            In response, Pilot Travel acknowledges that it mistakenly referred to a December 15,

2006 telephone conference in its certification. It has apologized to the court and Plaintiffs for

any confusion that the inadvertent reference may have caused.8 Pilot Travel states, however, that

it fulfilled its obligation to confer with Plaintiffs prior to filing the motion to compel by sending

the December 4, 2006 letter to TCH, as well as three similar letters to the other plaintiffs.9 Pilot

Travel states that after receiving TCH’s December 22, 2006 letter in which it stood by its original

objections and refused to produce the documents, further communication on the requests would

have been futile.10

            While the court believes that it would have been preferable for the parties to have met and

conferred prior to the filing of the motion, the court acknowledges that the parties made an effort

to resolve the dispute without involving the court. Accordingly, the court will not deny the

motion on the basis that Pilot Travel failed to fulfil its obligation to meet and confer.

B. Scope of Discovery Rules.

            Rule 26 provides that a party “may obtain discovery regarding any matter, not privileged,

that is relevant to the claim or defense of any party.”11 Rule 34, pertaining to the production of

documents, is similarly broad in scope.12


8
 Reply Memorandum in Support of Pilot Travel Centers LLC’s Motion to Compel (“Reply”) at 2 n.12, docket no.
107, filed March 30, 2007.

9
    Id. at 2. Copies of the letters sent to the other plaintiffs on December 6, 2006 are attached to the Reply as Ex. 4-6.

10
 Reply at 2 & n.12 (citing In re Sulfuric Acid Antitrust Litig., 231 F.R.D. 351, 356 (N.D. Ill. 2005))(stating that the
doctrine of futility is applicable in the context of Rule 37.).

11
     Fed. R. Civ. P. 26(b)(1).

12
     8A Charles Alan W right, et al. Federal Practice and Procedure § 2206 (2d ed. 1994).

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C. Sufficiency of TCH’s Objections.

            Pilot Travel asserts that in response to each request for production, TCH raised some

combination of what are described by Pilot Travel as “standard boilerplate objections,” such as

“overly broad,” “unduly burdensome,” “vague,” “ambiguous,” and “not reasonably calculated to

lead to the discovery of admissible evidence,” without setting forth the basis for the objections or

providing specific detail in support of them.13 Pilot Travel argues that TCH’s failure to set forth

the reasons for its boilerplate objections constitutes a waiver of those objections as a matter of

law.14

            The party resisting discovery has the burden “to clarify and explain precisely why its

objections are proper given the broad and liberal construction of the discovery rules.”15 The party

“cannot make conclusory allegations that a request is irrelevant, immaterial, unduly burdensome,

or overly broad. Instead, the party resisting discovery must show specifically how each discovery

request is irrelevant, immaterial, unduly burdensome or overly broad.”16 Courts have stated that

“pat, generic non-specific objections, intoning the same boilerplate language, are inconsistent

with both the letter and the spirit of the Federal Rules of Civil Procedure.”17 “An objection to a




13
     Supporting Memorandum at 1.

14
     Id. at 1-3 (citing In re Aircrash Disaster Near Roselawn, Ind., 172 F.R.D. 295, 306-07 (N.D. Ill. 1997)).

15
     Obiajulu v. City of Rochester, 166 F.R.D. 293, 295 (W .D.N.Y. 1996).

16
     Id. (quoting Gheesling v. Chater, 162 F.R.D. 649, 650 (D. Kan. 1995)).

17
     Obiajulu, 166 F.R.D. at 295; accord In re Aircrash Disaster Near Roselawn, Ind, 172 F.R.D. at 306-07.

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document request must clearly set forth the specifics of the objection and how that objection

relates to the documents being demanded.”18

            As Pilot Travel argues, TCH has failed to provide detailed support for many of its

objections. Although the court declines to make a blanket finding that TCH has waived its

objections, the court reminds all parties of their obligation under the rules to make specific

objections to discovery requests.19

D. Request 1.

            Request 1 asks for all documents “relied on, referred to, or evidencing the basis for each

response to Pilot Travel’s First Set of Interrogatories.”20 TCH objected to Request no. 1 “because

it is vague, overbroad and fails to describe with reasonable particularity the documents sought by

[Pilot Travel].”21 Subject to the objection, TCH agreed to produce only those documents that

were “specifically referenced in TCH’s answers” to Pilot Travel’s First Set of Interrogatories.22

            In opposition to the motion to compel, TCH states that it objected to providing additional

documents “on the basis of the attorney work product doctrine and the attorney-client




18
     Obiajulu, 166 F.R.D. at 295.

19
 See Id. (cautioning that “continued failure to follow the Federal Rules of Civil Procedure with respect to making
specific objections do discovery demands may result in unwanted consequences.”).

20
     Ex. 2 to Supporting Memorandum at 5.

21
     Ex. 3 to Supporting Memorandum at 6.

22
     Id.

                                                         -5-
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privilege.”23 The court notes that TCH did not raise this objection in its response to Request 1,

although it was raised in counsel’s letter of December 22, 2006.24

            As Pilot Travel argues, “a claim of privilege must be established on a document by

document basis.”25 “The mere naked claim of privilege . . . does not justify a refusal to identify

or produce the information and documents requested.”26 Rule 26 requires a party withholding

documents on a claim that it is privileged, or protected as trial-preparation material, to “describe

the nature of the documents . . . in a manner that, without revealing information itself privileged

or protected, will enable other parties to assess the applicability of the privilege or protection.”27

            TCH has not provided a privilege log or any other basis for determining the applicability

of the attorney-client privilege or the work-product doctrine. Accordingly, TCH will be required

to provide a privilege log describing the documents which it claims are protected. The log must

be sufficient to enable Pilot Travel to assess the applicability of the claim of privilege or

protection.

E. Requests 4 & 5.

            Plaintiffs allege in their complaint that Pilot Travel intentionally interfered with their

“contractual relations and potential economic relations with truck drivers and trucking




23
     Opposition at 3.

24
     Ex. 5 to Supporting Memorandum at 4.

25
     In re Air Crash Disaster at Sioux City, Iowa, 133 FRD 515, 518 (N.D. Ill. 1990).

26
     In re Aircrash Disaster Near Roselawn, Ind., 172 F.R.D. at 307.

27
     Fed. R. Civ. P. 26(b)(5)(A).

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companies.”28 Requests 4 and 5 ask TCH to produce copies of each contract with which it

contends Pilot Travel interfered, and a list of potential economic relations with which it claims

interference.29

          TCH produced no documents in response to these requests.30 Instead, TCH interposed its

standard objection that each request is “vague, overbroad, unduly burdensome, and fails to

describe with reasonable particularity the documents sought.”31 In addition, TCH stated that the

information sought “is proprietary and confidential” and “will be produced only upon entry of a

mutually acceptable stipulated protective order.”32

          With regard to Request 4, TCH asserted:

          The request potentially covers every contract between TCH and its customers.
          For example, Defendants’ interference potentially affected the frequency of use of
          the TCH card by all existing TCH customers and the decisions by those customers
          whether to keep those TCH cards. Yet Defendants do not need to review TCH’s
          contracts with every one of its customers to evaluate or challenge Plaintiffs’
          claims in this lawsuit.33




28
  Complaint ¶ 83.

29
  Ex. 2 to Supporting Memorandum at 5.

30
  Supporting Memorandum at 4.

31
  Ex. 3 to Supporting Memorandum at 8, 9.

32
  Id. at 8, 9.

33
  Id. at 8.

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         In addition, TCH stated that Request 5 “is effectively an interrogatory asking TCH to

prepare a list of every potential customer that might have purchased services from TCH absent

the Defendants’ actions.”34

         In opposition to the motion to compel, Plaintiffs state that Flying J, TON, and TAB

explained in their responses that

         [They engage] in sales of goods and services (a type of contractual relationship) to
         a very large number of customers each year and Pilot does not need to ascertain
         the identity of those customers or review documentation concerning the sale in
         order to evaluate Plaintiffs’ tortious interference claim against Pilot. It is also not
         possible for [Flying J, TON, and TAB] to know the identity of all potential
         customers who would have purchased goods or services [from them], or done so
         more frequently, absent Defendants’ unlawful conduct.35

Plaintiffs further state that despite their “well-founded objections,” they agreed in their responses

“to discuss the production of documents in response to appropriate, narrowed requests,” but Pilot

Travel “made no attempt to mitigate the burden of these requests.”36

         As Pilot Travel argues, Plaintiffs’ complaint specifically raises claims of interference

with contractual and economic relations, thus making contracts and economic relations direct

issues in this litigation.37 Regarding TCH’s contention that these requests are extremely

burdensome because they seek copies of its contracts with every one of its customers, and a list

of every potential customer, Pilot Travel points out that it is only asking for those contracts and




34
 Id. at 9.

35
 Opposition at 4 (alterations in original).

36
 Id.

37
 Supporting Memorandum at 5.

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customer lists with which TCH claims interference.38 Accordingly, TCH will be required to

produce documents in response to Requests 4 and 5.

F. Requests 6, 20-23.

             Requests 6 and 20-23 ask for documents evidencing damages, and various financial

documents. Pilot Travel states that “TCH largely refused the requests, only agreeing to produce

formal financial statements.”39

             1. Request 6.

             Request no. 6 asks for all documents “evidencing any damages you claim, itemized by

cause of action and causation as alleged in your Complaint.”40 Plaintiffs offered their standard

objections to this request including that “it is vague, overbroad, unduly burdensome, and fails to

describe with reasonable particularity the documents sought.”41 In addition, they alleged that the

information sought “is proprietary and confidential to Plaintiffs including TCH because it

potentially calls for all of TCH’s financial information.”42 TCH also claimed that the request is

“unduly burdensome because it requires TCH to sort the documents by ‘cause of action and

causation.’”43 TCH also stated that the request “seeks information protected by the work product




38
     Reply at 4.

39
     Supporting Memorandum at 6; Ex. 2 to Supporting Memorandum at 5, 6-7.

40
     Ex. 2 to Supporting Memorandum at 5.

41
     Ex. 3 to Supporting Memorandum at 9.

42
     Id.

43
     Id. at 9-10.

                                                        -9-
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doctrine.”44 Finally, TCH objected to the request on the ground that it is premature because the

report from Plaintiffs’ damages expert is not due until May 30, 2008.45

         In opposition to the motion to compel, Plaintiffs state that, among other reasons, they

objected to this request because, as drafted, it potentially calls for all of their financial

information. They further state that their objection to this request is similar to their objection to

Pilot Travel’s Interrogatory 13. Plaintiffs have not yet retained an antitrust expert to analyze and

calculate their damages. They believe that discovery of lay opinions of estimated damages would

be useless or even misleading. Plaintiffs state, however, that they have agreed to produce

documents that their expert will use to conduct an analysis of damages.46

         As the court noted in ruling on Plaintiffs’ objection to Interrogatory 13, Plaintiffs’ expert

report will not be due until long after the close of fact discovery. The court therefore required

Plaintiffs to answer the interrogatory so that discovery might proceed in an efficient manner.47

For the same reasons, Plaintiffs will be required to produce the requested financial documents. If

Plaintiffs still contend that some of the information is protected from disclosure by the work

product doctrine, they should provide a log of the documents that they claim are protected.

         2. Requests 20, 22, & 23.

         Requests 20, 22, and 23, ask for “financial statements, reports, and management analyses

of finances for each year since 1996;” “[a]ll financial documents, including without limitation,

44
 Id. at 10.

45
 Id.

46
 Opposition at 4-5.

47
 Memorandum Decision and Order at 8-10, docket no. 112, filed May 2, 2007.

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reports and memos given by you or on your behalf to any third party for each year since 1996;”

and a copy of “each loan, debt, or other financing document since 1996.”48 After raising several

of its standard objections, TCH agreed to produce only its annual financial statements for each

year since 1996. It stated, however, that counsel was willing to meet and confer to discuss

possible production of additional redacted information that is narrowly tailored and reasonably

related to the disputed issues.49

            The court finds that the financial statements, reports and analyses, and financial

information given to third parties are relevant to the issues in this case.50 The court is not

persuaded that loan documents are relevant. Accordingly, Plaintiffs will be required to produce

documents responsive to Requests 20, 22, and 23 excepting loan documents. The court notes

that to the extent Plaintiffs feel the information is confidential, they may invoke the procedures

available under the protective order in this case.51

            3. Request 21.

            Request 21 asks Plaintiffs to provide a list of the members of TCH LLC since 1996.52

TCH responded that it would produce “documents kept in the ordinary course of its business that



48
     Ex. 2 to Supporting Memorandum at 6-7.

49
     Ex. 3 to Supporting Memorandum at 17-18.

50
  See Caride v. Kohll, No. Civ-04-1367-L, 2005 W L 1860295, at *3 (W.D. Okla. Aug. 3, 2005)(allowing discovery
of plaintiffs’ banking information so that defendants could evaluate and defend against plaintiffs’ claims for
damages); In re Folding Carton Antitrust Litig., 76 F,R D. 420, 430-31 (D. Ill. 1977)(requiring plaintiffs to produce
financial information as it may be relevant to issue of damages) .

51
     See Protective Order, docket no. 81, filed January 23, 2007.

52
     Ex. 2 to Supporting Memorandum at 6.

                                                            -11-
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are sufficient to disclose the identity of the members of TCH LLC since TCH LLC was first

organized in 1998.”53 This appears to be a sufficient response, and neither party has specifically

addressed this request in its briefing. Accordingly, TCH will not be required to produce

additional documents in response to Request 21.

G. Requests 7 & 8.

             Request 7 asks for a list of “all truck stops or travel centers or other commercial entities

that accept and process the TCH card as payment in proprietary transactions for each year

beginning in 1996.”54 Request 8 asks for all documents “evidencing your non-transactional

communications with entities that accept the TCH card as payment in proprietary transactions.”55

             TCH produced no documents in response to Requests 7 and 8.56 TCH objected to the

requests on the ground that they are vague and ambiguous, overbroad, unduly burdensome, and

not reasonably calculated to lead to the discovery of admissible evidence, and seek proprietary,

confidential information.57 In particular, it stated that Request 7 is “unduly burdensome to the

extent it requires TCH to reconstruct information dating back to 1996 about truck stops that

accepted its card or to categorize the documents by ‘each year.’”58 Subject to its objections, TCH

directed Pilot Travel to TCH’s website for the current list of truck stops that accept the TCH


53
     Ex. 3 to Supporting Memorandum at 18.

54
     Ex. 2 to Supporting Memorandum at 5.

55
     Id.

56
     Supporting Memorandum at 7.

57
     Ex. 3 to Supporting Memorandum at 10-11.

58
     Id. at 10.

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card.59 In response to Request 8, TCH raised an additional objection that the term “‘non-

transactional communications’ is vague and, as drafted, calls for privileged and confidential

communications.”60

          Requests 7 and 8 call for information that is clearly relevant to the issues in this lawsuit.

Although TCH indicates that some of the requested information might be available on its

website, that fact does not excuse TCH from producing the documents. Several courts have held

that it is "not usually a ground for objection that the information is equally available to the

interrogator or is a matter of public record."61 Further, TCH has failed to comply with the

requirements of Rule 26(b)(5)(A) to support its claim that some of the documents are privileged.

Accordingly, TCH will be required to produce documents in response to Requests 7 and 8.

However, TCH may provide a privilege log to support its claim that some of the documents are

privileged.

H. Requests 13 and 14.

          Requests 13 and 14 seek all documents evidencing communications of TCH and its

agents with the Federal Trade Commission.62 In response, TCH raised its standard objection that

these requests are vague, ambiguous, overbroad, and not reasonably calculated to lead to the

discovery of admissible evidence. In addition, TCH claimed that the requests seek documents


59
  Id. at 10-11.

60
  Id. at 11.

61
  City Consumer Servs., Inc., v. Horne, 100 F.R.D. 740, 747 (D. Utah 1983); accord St. Paul Reinsurance Co., Ltd.
v. Commercial Fin. Corp., 198 F.R.D. 508, 514 (N.D. Iowa. 2000); 8 Charles Alan W right, et al., Federal Practice
and Procedure § 2014 (2d ed. 1994).

62
  Ex. 2 to Supporting Memorandum at 6.

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that are protected from disclosure by the attorney-client privilege and work-product doctrine.

TCH nevertheless agreed to produce two subsets of documents after entry of the protective

order.63

            In opposition to the motion to compel, TCH contends that it would be unduly

burdensome for it to locate documents concerning any contact with the FTC, since it does not

keep a central file concerning contacts with the FTC. TCH further states that Plaintiffs recall

only one communication with the FTC relating to the issues in this lawsuit other than the

documents described in Plaintiffs’ response. It states that Plaintiffs will produce non-privileged

documents relating to that call from the FTC.64

            The party resisting discovery has the burden to show that producing the material will be

unduly burdensome. The court concludes that TCH has not met this burden. As one court has

observed, “Rule 26(c) speaks of ‘undue burden or expense’ and discovery should be allowed

unless the hardship is unreasonable in the light of the benefits to be secured from the

discovery.”65

            As Pilot Travel argues, Plaintiffs’ complaint referred to communications with, and

actions taken by, the FTC,66 thus making those communications subject to discovery.67 TCH’s



63
     Ex. 3 to Supporting Memorandum at 13-14.

64
     Opposition at 6.

65
 Snowden ex rel. Victor v. Connaught Labs., Inc., 137 F.R.D. 325, 333 (D. Kan. 1991)(quoting 8 Charles Alan
W right & Arthur R. Miller, Federal Practice and Procedure § 2214 (1970).

66
     Complaint ¶¶ 27, 33-34, 36, 46-47.

67
     Supporting Memorandum at 8.

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assertion that it does not keep a central file for FTC communications is unavailing. “The fact

that an unwieldy record keeping system would require heavy expenditures of time and effort to

produce requested documents, is not a sufficient reason to prevent disclosure of otherwise

discoverable material.”68

            While TCH contends that some of the documents are protected by the attorney-client

privilege or the work-product doctrine, it has failed to comply with Rule 26(b)(5)(A). “The party

seeking to assert the attorney-client privilege or the work product doctrine as a bar to discovery

has the burden of establishing that either or both is applicable.”69 Further, as Pilot Travel points

out, the material sought, as communications with third parties, is discoverable.70 Accordingly,

Plaintiffs will be required to produce documents responsive to Requests 13 and 14. As with

other requests, TCH may provide a privilege log supporting its claim of privilege for the

documents it believes are protected.

I. Requests 15 and 16.

            Requests 15 and 16 ask for all documents evidencing communications with, or regarding,

Comdata Corporation.71 TCH did not produce any documents in response to these requests,

instead raising many of their standard objections including that the requests are vague and

ambiguous, overbroad, unduly burdensome, and not reasonably calculated to lead to the

discovery of admissible evidence. In addition, TCH asserted that the requests seek documents

68
     Snowden, 137 F.R.D. at 333.

69
     Barclaysamerican Corp. v. Kane, 746 F.2d 653, 656 (10 th Cir. 1984).

70
     Supporting Memorandum at 8.

71
     Ex. 2 to Supporting Memorandum at 6.

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protected by the attorney-client privilege and the work product doctrine.72 TCH also noted that

Pilot Travel’s counsel, John Bogart, represents Comdata in another lawsuit involving some of the

plaintiffs in this case. TCH states that Mr. Bogart had access to, or is personally familiar with,

the communications between TCH and Comdata relating to that lawsuit.73

             In light of Plaintiffs’ allegations concerning Comdata’s involvement in the alleged

antitrust conspiracy, communications with, and about, Comdata are clearly relevant. To the

extent that Plaintiffs claim the documents are privileged, they should prepare a privilege log.

Documents not protected should be produced.

J. Request 18.

             Request 18 seeks “[a] copy of each complaint, amended or otherwise, in all litigation to

which you are or have been a party since 1996.”74 TCH produced no documents in response to

this request. In addition to its standard objections, TCH stated that “[t]he entirety of litigation to

which any of Plaintiffs including TCH has been a party (e.g., collection, employment, slip-and-

fall) has no relevance to this case and cannot lead to the discovery of admissible evidence.”75

Subject to the objections, TCH stated that the only lawsuit to which Plaintiffs have been a party

since 1996 in which any of them asserted claims under the Sherman Act or Clayton Act was the




72
     Ex. 3 to Supporting Memorandum at 14-15.

73
     Id. at 14.

74
     Ex. 2 to Supporting Memorandum at 6.

75
     Ex. 3 to Supporting Memorandum at 16.

                                                    -16-
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Comdata lawsuit. TCH further stated that the complaint is a matter of public record, and is also

available to Pilot Travel’s Counsel since his law firm represented Comdata in the lawsuit.76

         In support of the motion to compel, Pilot Travel argues that production of the complaints

would not be unduly burdensome since TCH’s legal department likely maintains copies of the

relevant documents in electronic format. It states that there is “no suggestion that TCH is so

litigious that the number of complaints is particularly voluminous.”77 As an example of the

complaints’ relevance, Pilot Travel states that Plaintiffs raised the same objections in the

Comdata case. The court in that case compelled production. The subsequent documents

“showed that plaintiffs had asserted claims against various defendants in unrelated actions for

store losses they sought to assign against Comdata, from copyright infringement to unfair

business practices.”78 Pilot Travel argues that the complaints are therefore relevant to the claims

and defenses in this litigation. Pilot Travel asserts that it should be allowed to discover whether

TCH seeks compensation from Pilot Travel for damages sought by TCH in other actions.79

         In response to the motion to compel, Plaintiffs state that they have agreed to produce the

complaint and the amended complaint in the Comdata lawsuit. They also reiterate that the

Comdata litigation is the only antitrust lawsuit since 1996 in which they have been a party.80




76
  Id.

77
  Supporting Memorandum at 12.

78
  Id. at 12-13.

79
  Reply at 7.

80
  Opposition at 7.

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        Although the court accepts Plaintiffs’ representation that they have not been parties in

other antitrust litigation, the court believes that other complaints in which TCH was a plaintiff or

asserted an affirmative claim for relief may be relevant for the reasons cited by Pilot Travel.

Further, the court believes that it would not be unduly burdensome to produce the documents.

Accordingly, Plaintiffs will be required to produce additional documents in response to Request

18.

K. Request 24.

        Request 24 seeks all documents “evidencing communications regarding any allegation in

the Complaint.”81 Plaintiffs produced no documents in response to this request, objecting that it

is vague, ambiguous, overbroad, unduly burdensome, and does not describe the documents

sought with reasonable particularity. TCH states, for example, that the complaint contains

allegations concerning “the existence and scope of entire markets relevant to Plaintiffs’ claims

and the request purports to cover ‘communications’ relating to any of those markets.”82 Plaintiffs

also objected to this request on the ground that it seeks proprietary and confidential information,

as well as communications protected by the work product doctrine and the attorney-client

privilege.83

        The court concludes that TCH has not carried its burden to show that this request is

unduly burdensome. As Pilot Travel argues, communications regarding the allegations in the



81
 Ex. 2 to Supporting Memorandum at 7.

82
 Ex. 3 to Supporting Memorandum at 19.

83
 Id.

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complaint go to the heart of this case.84 Indeed, Pilot Travel states that “Plaintiffs’ subpoena to

Comdata demands all documents concerning Comdata’s communications concerning ‘this

lawsuit or any aspect of the facts and claims asserted in it.’”85

            Request 24 seeks relevant information, and the documents should be produced. TCH

may submit a privilege log describing any documents that it claims are protected by the attorney-

client privilege or the work product doctrine. As Pilot Travel points out, however, any

communications with third parties would not be protected.86

L. Requests 29-32.

            Requests 29 through 32 seek copies of documents, in electronic format, concerning

TCH’s antitrust litigation against Comdata.87 Plaintiffs raised their standard objections to these

requests. They also stated that nearly all of the requested documents are designated as

confidential under the protective order entered in the Comdata litigation, and the consent of

Comdata, or in some cases third parties, is required before Plaintiffs can produce copies of the

documents. Plaintiffs also objected that to the extent any expense is associated with the

production, Pilot Travel should bear the expense.88 Finally, Plaintiffs refused to produce any

documents in response to Request 31 which seeks copies in electronic format of “all databases of




84
     Supporting Memorandum at 9.

85
     Reply at 7; Ex. 10 to Reply at 4.

86
     Supporting Memorandum at 9.

87
     Ex. 2 to Supporting Memorandum at 7.

88
     Ex. 3 to Supporting Memorandum at 21-24.

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documents and deposition transcripts including exhibits taken in the litigation.”89 Plaintiffs

objected to this request on the ground that it “calls for the production of privileged information in

the form of databases created by or under the supervision of counsel, which is protected from

disclosure by the attorney-client privilege and work product doctrine.”90

         In response to the motion compel, Plaintiffs state that despite their objections, they have

agreed to produce all of the requested documents, with the exception of the litigation databases,

if the necessary consent is obtained and Pilot Travel bears the cost of production.91 In response,

Pilot Travel asserts that TCH has no standing to assert Comdata’s rights under the protective

order in the Comdata case.92 In this regard, the court notes that the protective order itself

provides the procedure to be followed when a party is ordered by a court to produce confidential

materials.93

         Regarding the cost of production, the parties agree that the subject matter of this litigation

“is closely related to and overlapping with the subject matter of the Comdata litigation.”94 As

Pilot Travel contends, production of the requested materials by TCH will greatly reduce the

expenditure of time and resources during discovery because the parties will not have to conduct

redundant written discovery and take depositions of witnesses that have already been deposed on


89
  Ex. 2 to Supporting Memorandum at 7.

90
  Ex. 3 to Supporting Memorandum at 23.

91
  Opposition at 8.

92
  Reply at 8.

93
  Agreed Protective Order ¶ 9, docket no. 57, filed July 27, 1998, Case no. 1:96-CV-66 BSJ.

94
  Opposition at 9; Reply at 7-8.

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the same issues.95 Pilot Travel asserts that the documents’ existence in electronic form renders

the costs of production minimal.96 Although TCH suggests that copying the requested files will

be expensive and time-consuming, it has not directly disputed Pilot Travel’s assertion that the

materials already exist in electronic format, or explained why the production would be unusually

burdensome, other than the fact that the material is voluminous.97 The court thus concludes that

TCH has failed to carry its burden on this issue. Therefore, TCH shall bear the cost of

production.

         In response to Plaintiffs’ objection to producing the “litigation databases,” Pilot Travel

states that it is not seeking the actual databases, but just the documents and deposition transcripts

within those databases.98 As the court understands this dispute, Plaintiffs are willing to produce

those materials. Accordingly, with the understanding that Plaintiffs will produce the documents

and deposition transcripts contained in the litigation databases, Plaintiffs will not be required to

produce the databases themselves.

         Finally, regarding the claim of attorney-client and work product privilege, Pilot Travel

suggests that any attorney work product issues can easily be remedied by the removal of

comment fields. As Pilot Travel observes, TCH has offered no suggestion that the removal of

the fields would involve more than the press of a button or simple reprogramming by technical




95
  Supporting Memorandum at 10; Reply at 8.

96
  Reply at 8.

97
  Opposition at 9.

98
  Reply at 8.

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support personnel.99 Accordingly, TCH will be required to produce documents in response to

Requests 29-32.

M. Request 33.

            Request 33 asks for all documents “evidencing communications with trucking companies

evidencing a refusal to use the TCH card.”100 TCH raised its standard objections to this request

including that it is “vague, overbroad, unduly burdensome and not reasonably calculated to lead

to the discovery of admissible evidence.”101 It also claimed that the request seeks proprietary and

confidential information, and communications that are protected by the attorney-client privilege

and work product doctrine. In addition, TCH asserted that the request “seeks every

communication by TCH with any prospective customer.”102 This is clearly an exaggeration.

            As Pilot Travel argues, the documents sought in this request are highly relevant to one of

the central issues in this lawsuit, the alleged boycott and refusal to use TCH’s fuel card.103 The

court concludes that TCH has not carried its burden to support its objections. Accordingly, TCH

will be required to respond to this request.




99
  Id.

100
      Ex. 2 to Supporting Memorandum at 8.

101
      Ex. 3 to Supporting Memorandum at 24.

102
      Id.

103
      Supporting Memorandum at 10-11; Reply at 9.

                                                    -22-
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N. Request 42.

            Request 42 asks for all documents “evidencing communications with any member, staff

member, or committee of the United States Senate or House of Representatives.”104 TCH did not

produce any documents in response to this request. Rather, it objected to the request on the

ground that

            it is vague, ambiguous, overbroad, unduly burdensome and not reasonably
            calculated to lead to the production of admissible evidence because it purports to
            encompass any communications with any representative of the U.S. Congress by
            anyone on any topic. As a result, the request does not describe the documents
            sought by PTC with reasonable particularity.105

            In opposition to the motion to compel, Plaintiffs reiterate their position explaining that

they “objected to these requests because they contain no subject matter limitation, and therefore

cover communications with Congress by any conceivable person whether or not related to

Plaintiffs.”106

            As Pilot Travel points out, however, TCH alluded to communications with Congress in

its complaint. In addition, TCH itself seeks such documents from Pilot Travel and the other

defendants, effectively conceding the relevance of the documents. Further, TCH has not

attempted to show that “collection and production of such documents would be particularly

burdensome or difficult, and makes no effort at all to show that it or its agents have ever

communicated with Congress on any topic unrelated to the allegations of the complaint.”107

104
      Ex. 2 to Supporting Memorandum at 8.

105
      Ex. 3 to Supporting Memorandum at 29.

106
      Opposition at 11.

107
      Supporting Memorandum at 11.

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Accordingly, the court concludes that TCH has not met its burden to support the objections. It

therefore will be required to produce documents in response to this request.

O. Request 44.

            Request 44 seeks all documents “evidencing communications with Charles River

Associates.”108 Plaintiffs raised their standard objections to this request including that it is

“vague, overbroad, unduly burdensome and not reasonably calculated to lead to the discovery of

admissible evidence.”109 Additionally, Plaintiffs stated: “The only potentially discoverable

communications that relate to the issues in this lawsuit concern the work in the Comdata

Litigation by Carl Shapiro of CRA, as a testifying expert for Plaintiffs, and James Kearl of CRA,

as a testifying expert for Comdata.”110 Plaintiffs also objected to the request because it “seeks

documents protected from disclosure by the rules governing communications with consulting

experts and by the attorney-client privilege and work product doctrine.”111

            In opposition to the motion to compel, Plaintiffs state that they have “agreed to produce a

copy of Mr. Shapiro’s ‘expert report and supporting documentation that were produced to

Comdata in the Comdata Litigation’ (subject to the need to obtain consent from Comdata before

producing material designated as confidential under the protective order entered in that case).”112




108
      Ex. 2 to Supporting Memorandum at 8.

109
      Ex. 3 to Supporting Memorandum at 30.

110
      Id.

111
      Id.

112
      Opposition at 11.

                                                    -24-
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But Plaintiffs reiterate their objection that the request seeks privileged documents.113 Plaintiffs

state:

         If Plaintiffs choose to communicate with CRA as a consulting expert on other
         matters, the fact and content of such communications are privileged and exempt
         from discovery. Plaintiffs believe they have satisfied their discovery obligations
         with regard to RFP 44 by agreeing to produce the expert report of their testifying
         expert from CRA in the Comdata Litigation, along with all supporting
         documentation from CRA produced to Comdata in that case.114

         In response, Pilot Travel points out that Charles River Associates provided expert

testimony in the Comdata litigation. It further states that because that litigation was markedly

similar to the claims and issues in this case, the documents are highly relevant and presumptively

discoverable since CRA acted as a testifying expert. Pilot Travel asserts that “TCH’s ‘belief’

that the narrow category of documents they offer satisfies their discovery obligations is

unsupported and contrary to the explicit requirements of the Rules.”115

         As Pilot Travel observes, TCH has not suggested that CRA “has ever done any other

work for it, or that TCH has communicated with CRA for any other reason.”116 TCH has not

described the documents at issue, nor explained in sufficient detail why they should be protected.

Because the court concludes that TCH has not carried its burden with regard to these documents,

it will be required to produce the documents.




113
   Id.

114
   Id.

115
   Reply at 9-10 (citing Fed. R. Civ. P. 26(a)(2)(B), 26(b)(4).

116
   Supporting Memorandum at 12.

                                                          -25-
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P. Requests 45 & 46.

            Requests 45 and 46 ask for copies in electronic format of all deposition transcripts, and

discovery requests and responses in case no. 1:04-CV-177 BSJ which involved some of the same

parties in this litigation.117 TCH raised several of its standard objections to these requests. TCH

also asserted that much of the information is protected by a protective order entered in that case,

and the consent of TA would be required to obtain the documents. It stated, however, that

subject to the objections, it would produce the documents after Pilot Travel’s counsel provides

written consent from TA authorizing the production of the information, and upon entry of a

stipulated protective order.118

            Although Pilot Travel discussed these requests in the fact section of its memorandum,119

neither party addressed them in their argument. Nevertheless, the only dispute appears to be over

which party will be required to secure the consent of TA to release the protected material. In that

regard, the court will order TCH to produce the documents in compliance with the procedure

outlined in the protective order entered in that case.

Q. Plaintiffs’ Objections to the Instructions and Definitions.

            TCH objected to virtually all of Pilot Travel’s instructions and definitions.120 The court

will address specific objections raised in Pilot Travel’s memorandum.




117
      Ex. 2 to Supporting Memorandum at 9.

118
      Ex. 3 to Supporting Memorandum at 31-32.

119
      Supporting Memorandum at xiv.

120
      Supporting Memorandum at 13; see Ex. 3 to Supporting Memorandum at 2-6.

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            1. Definition of “You,” “Your,” and “Plaintiff.”

            Plaintiffs initially objected to Pilot Travel’s definition of these terms.121 Subsequently,

Plaintiffs adopted a definition of those terms suggested by Pilot Travel.122

            In support of its motion, Pilot Travel asserts that this definition was adopted after

Plaintiffs served their responses to this motion. Pilot Travel therefore contends that Plaintiffs

should be compelled to explain how they understood the terms in responding to this motion.123

            In opposition, Plaintiffs represent that they “have confirmed repeatedly that they are using

this definition in responding to PTC’s discovery requests.”124 Accordingly, the court accepts

Plaintiffs’ representation that they used the definition in their responses and therefore considers

this issue resolved.

            2. Definition of “Communication,” “Discussion,” “Statement,” “Evidencing,” and

“Non-transactional.”

            Plaintiffs objected to Pilot Travel’s definition of “communication,” “discussion,”

“statement,” “evidencing,” and “non-transactional.”125 The parties did not specifically address

this dispute in their argument. However, in its proposed order Pilot Travel asks the court to order

Plaintiffs to state what definition of these terms they used in their responses.




121
      Ex. 3 to Supporting Memorandum at 3.

122
      Opposition at 12.

123
      Supporting Memorandum at xiv-xv, 13; Reply at 10.

124
      Opposition at 12.

125
      Ex. 3 to Supporting Memorandum at 4.

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            With regard to the definitions of “communication,” “discussion,” “statement,” and

“evidencing,” TCH stated in its response that it would interpret the terms “according to standard

English dictionary definitions.”126 The court concludes that TCH’s explanation with regard to the

definitions of those terms is sufficiently clear.

             TCH did not state the definition it relied upon in interpreting the term “non-

transactional.” Accordingly, it will be required to provide the definition it used in responding to

the document requests.

            3. Temporal Scope of Responses.

            Pilot Travel’s instructions requested information beginning January 1, 1996.127 TCH

objected to that date as “overbroad, unduly burdensome, and not reasonably calculated to lead to

the discovery of admissible evidence.”128

            In support of the motion to compel, Pilot Travel notes that the complaint refers to events

beginning in 1985 and seems to claim that the alleged boycott began in 1996. It contends that

TCH’s objection is therefore inconsistent with its own complaint.129

            In response to the motion to compel, Plaintiffs note that all parties have sought discovery

dating to 1996, and all parties have objected to that date. Plaintiffs suggest an alternative

proposal in which all parties produce documents created since January 1, 2000, as well as




126
      Id.

127
      Ex. 2 to Supporting Memorandum at 4.

128
      Ex. 3 to Supporting Memorandum at 5.

129
      Supporting Memorandum at 13-14; see Complaint ¶¶ 26, 32-33.

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documents created between January 1, 1996 and December 31, 1999, “that relate to any subjects

or events on which the party intends to rely in its claims or defenses.”130

            In response to TCH’s suggestion, Pilot Travel asserts that TCH waived this objection by

failing to support it, and by failing to specify the time period TCH used in responding to the

requests. Alternatively, Pilot Travel states that TCH should be required to state the time period it

used in responding to the requests so that Pilot Travel can plan its defenses and supplemental

discovery accordingly.131

            The court twice before has urged the parties to come to an agreement on this issue.

However, they apparently have failed to do so. As discussed, Plaintiffs’ own complaint suggests

that the boycott began in 1996, thus making that the relevant time period. Therefore, they will be

required to provide documents dating to January 1, 1996.



                                                      ORDER

            IT IS HEREBY ORDERED that Pilot Travel’s motion to compel responses to its requests

for production of documents to TCH is GRANTED132 in part as follows:

            TCH shall produce all non-privileged documents responsive to Request No. 1 asking for

all documents relied on, referred to, or evidencing the basis for TCH’s responses to Pilot Travel’s


130
      Opposition at 12-13.

131
      Reply at 10.

132
  Motion to Compel, docket no. 96, filed March 1, 2007. This Court also grants Pilot Travel’s Motion to Compel
with respect to Plaintiffs Flying J Inc., Transportation Alliance Bank Inc., and TON Services, Inc., to the extent that
the requests for production of documents and objections thereto are substantially similar to the requests hereby
compelled in this Order. A chart indicating the similar requests and objections is attached to Pilot Travel’s proposed
order as Exhibit 1.

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First Set of Interrogatories. With respect to those documents that TCH claims are protected by

the attorney-client privilege or the work-product doctrine, TCH shall provide a privilege log

sufficient to allow Pilot Travel to assess the applicability of the privilege.133

        TCH shall produce all documents responsive to Request Nos. 4 and 5 seeking copies of

each contract with which TCH contends Pilot Travel or Pilot Corp. interfered and a list of

potential economic relations with which TCH contends Pilot Travel or Pilot Corp. interfered.

        TCH shall produce all non-privileged documents responsive to Request No. 6 asking for

all documents evidencing the damages claimed by TCH, itemized by cause of action and

causation as alleged in TCH’s Complaint. If TCH contends that some of these documents are

protected by the work product doctrine, it should provide a privilege log of the subject

documents.

        TCH shall produce all documents responsive to Request No. 7 seeking a list of all truck

stops, travel centers, or other commercial entities that accept and process the TCH card as

payment in proprietary transactions for each year beginning in 1996.

        TCH shall produce all non-privileged documents responsive to Request No. 8 seeking all

documents evidencing TCH’s substantive, non-transactional communications with entities that

accept the TCH card as payment in proprietary transactions. If TCH contends that some of the

documents are privileged, it shall provide a privilege log describing those documents.

        TCH shall produce all non-privileged responsive documents to Request Nos. 13 and 14

asking for all documents evidencing TCH’s communications with the Federal Trade


133
  See Fed. R. Civ. P. 26(b)(5)(A).

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Commission. TCH shall provide a privilege log listing any documents that it claims are

protected under the attorney-client privilege and work product doctrine.

       TCH shall produce all non-privileged documents responsive to Request Nos. 15 and 16

asking for documents evidencing non-transactional communications with or about Comdata. In

addition, TCH shall provide a privilege log listing the documents that it claims are protected by

the attorney-client privilege and work product doctrine.

       TCH shall produce all responsive documents to Request No. 18 seeking a copy of each

complaint in each case in which TCH was a plaintiff or sought affirmative relief.

       TCH shall produce all documents responsive to Request Nos. 20, 22, and 23 asking for

financial statements, reports, management analyses, debt instruments, and financial memoranda

or analyses provided to third parties for the period beginning January 1, 1996 onward. They need

not produce loan documents, or additional documents in response to Request No. 21.

       TCH shall produce all responsive non-privileged documents to Request No. 24 asking for

documents evidencing communications with third parties regarding TCH’s allegations in its

Complaint. With regard to documents that are proprietary or confidential, TCH may invoke the

protections under the protective order entered in this case. To the extent that TCH claims the

documents are protected by the attorney-client privilege or work product doctrine, it shall provide

a privilege log supporting its claims.

       TCH shall produce all responsive non-privileged documents to Request Nos. 29, 30, 31,

and 32 asking for electronic documents and databases regarding TCH’s antitrust litigation against

Comdata, including but not limited to: electronic versions of depositions, deposition exhibits,


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discovery documents, and electronic versions of the memoranda and exhibits filed in TCH’s

litigation against Comdata. TCH need only produce the documents contained in the databases,

and not the databases themselves. If TCH still maintains that some of the documents are

protected by the attorney-client privilege or work-product doctrine, it shall prepare a privilege log

to support its claims.

       TCH shall produce all responsive non-privileged documents to Request No. 33 asking for

all documents evidencing communications with trucking companies, which demonstrate a refusal

by the trucking company to use the TCH card. If TCH claims that some of the documents are

protected by the attorney-client privilege or work-product doctrine, it shall provide a privilege

log to support its claims.

       TCH shall produce all responsive documents to Request No. 42 asking for all documents

evidencing communications with any member, staff member, or committee of the United States

Senate or House of Representatives.

       TCH shall produce all responsive non-privileged documents to Request No. 44 asking for

all documents evidencing communications with Charles River Associates. If TCH contends that

some of these documents are protected, it shall submit a privilege log supporting its claims.

       TCH shall produce all responsive documents to Request Nos. 45 and 46 asking for

discovery documents in the recent litigation between TCH and TA.

       TCH has sufficiently explained the definition of “you,” “your,” “plaintiff,”

“communication,” “discussion,” “statement,” and “evidencing” that it used in responding to the

document requests.


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       TCH shall state the definition of “non-transactional” employed by TCH in its responses.

       TCH’s objection to the time period identified in Pilot Travel’s Instructions is overruled,

and TCH shall state the time period it used in responding to the First Set.

       TCH shall supplement its responses to the First Set to the extent necessary to ensure the

responses are complete for the time period beginning January 1, 1996.

       This Order in no way relieves TCH of its duty to supplement its answers to discovery

materials pursuant to Federal Rule of Civil Procedure 26(e).

       Compliance with this order is due August 24, 2007.



       July 30, 2007.

                                             BY THE COURT:




                                             David Nuffer
                                             U.S. Magistrate Judge




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